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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                        V.
                                                           Case No. 21-mj-017-GMH
 CLEVELAND MEREDITH,

                Defendant.




                                            ORDER

       This matter having come before the Court pursuant to a Motion to Continue,

upon consent, it is hereby

       ORDERED that the parties shall appear for a Preliminary Hearing at 10:00

a.m. on March 1, 2021 by video conference before Judge Faruqui. It is further

       ORDERED that pursuant to the representations made by the parties, the interests

and ends of justice are best served and outweigh the interests of the public and the defendant

in a speedy trial. Pursuant to 18 U.S.C. § 3161, the time from January 28, 2021 through March

1, 2021 shall be excluded in computing the date for speedy trial in this case.

                                                                     Digitally signed
                                                                     by G. Michael
       SO ORDERED.
                                                                     Harvey
                                                                     Date: 2021.01.25
Date: January 25, 2021                                               16:00:00 -05'00'
                                                  ______________________________________
                                                  The Honorable Judge G. Michael Harvey




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